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 and those similarly situated

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  CHRISTINE ZANGARA, on behalf of herself
  and others similarly situated                            Civil Action No.
                         Plaintiff,
                                                           3:17-CV-06755-MAS-DEA
                  v.
  ZAGER FUCHS, P.C. and MICHAEL T.                         STIPULATION OF DISMISSAL
  WARSHAW,
                  Defendants.



         The matter in difference in the above entitled action having been amicably resolved by and

 between the parties, it is hereby stipulated and agreed that any and all of Plaintiff’s individual claims

 against Defendants in this matter are hereby dismissed with prejudice and without costs, and that

 Plaintiff’s claims brought on behalf of the putative class are hereby dismissed without prejudice

 and without costs.

 Dated: March 23, 2020



         THE WOLF LAW FIRM, LLC                          GORDON REES SCULLY
                                                         & MANSUKHANI, LLP

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